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                                 7

                                 8                             UNITED STATES BANKRUPTCY COURT

                                 9                              CENTRAL DISTRICT OF CALIFORNIA

                           10                                             SANTA ANA DIVISION

                           11        In re                                                  Case No. 8:23-bk-12243-SC

                           12        EQUALTOX, LLC,                                         Chapter: Chapter 11
                           13                            Debtor.                            SUNWEST BANK'S OPPOSITION TO
                                                                                            THE DEBTOR'S EMERGENCY
                           14                                                               MOTION FOR ORDER AUTHORIZING
                                                                                            USE OF CASH COLLATERAL
                           15
                                                                                            Date:         December 13, 2023
                           16                                                               Time:         10:00 a.m.
                                                                                            Judge:        Scott C. Clarkson
                           17                                                               Ctrm.:        SC
                           18
                                     I.      INTRODUCTION
                            19
                                             Sunwest Bank ("Bank") indisputably holds a first-priority lien on the rent generated from
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                                     the Debtor's real property, constituting the Bank's cash collateral. Debtor Equaltox, LLC
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                                     ("Debtor") seeks authorization to utilize this rent for its operating expenses during bankruptcy,
                           22
                                     which diminishes the collateral's value. While the Debtor offers a replacement lien on future rent
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                                     to protect the Bank' s interest, this offer is illusory since the Bank already possesses a prior lien on
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                                     future rent. Further, the Debtor's use ofrent to pay laboratory operation expenses does not
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                                     primarily or directly benefit or protect the Bank's interest in the Debtor's real property or rental
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                                     income. Consequently, this Court should deny the Debtor' s Motion regarding using the Bank's
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                                     cash collateral. Alternatively, in addition to protection proposed by the Debtor, this Court should
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A PROFESSIONAL C O RPOR A TION            SUNWEST BANK'S OPPOSITION TO DEBTOR'S EMERGENCY MOTION FOR
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                                    1 mandate that the Debtor make its agreed-upon monthly payments of$9,941.72 under its loan with

                                    2   the Bank to adequately protect the Bank against the loss of its collateral.
                                    3 II.       STATEMENT OF FACTS

                                    4           Equaltox performs laboratory tests for medical diagnosis and treatment, toxicology, and
                                    5   COVID-19 tests. (Declaration ofSulaiman Masood ("Masood Deel."), ,r 2 [ECF No. 12].)As a

                                    6   toxicology laboratory, Debtor provides tests related to the treatment of mental health disorders,

                                    7   alcoholism, and other substance abuse disorders. (Id.) Sulaiman Masood ("Masood") is the sole
                                    8 manager and owner of Debtor, which employs 20 persons. (Id. at ,r,r 1, 2.)
                                    9           The Debtor owns its office located at 550 N. Golden Circle Dr., Santa Ana, California
                               10       92705 ("Property"). (Id. at ,r,r 4.). It acquired the Property in March 2023 with two loans from the

                               11       Bank, one loan for $1,562,200 ("First Loan") and a second loan for $1,249,760 ("Second Loan").
                               12       (Id.)
                               13               The First Loan is evidenced by a promissory note dated March 14, 2023, in the original
                               14       principal amount of $1,562,200 from the Debtor to the Bank. (Declaration of Cary Calkin

                               15       ("Calkin Deel."), Ex. 1.) The First Loan was secured by a Deed of Trust ("Deed of Trust") and an

                               16       Assignment of Leases and Rents ("Assignment"), each dated March 14, 2023, and recorded

                               17       March 24, 2023, encumbering the Property. (Calkin Deel., Exs. 2, 3.) Under the Deed of Trust
                               18       and the Assignment, the Debtor assigned and granted the Bank a continuing security interest in all
                               19       rent, revenue, income, accounts receivable, cash, profits, and proceeds from the Property. (Calkin
                              20        Deel., Ex. 2, p. 1, 5; Ex. 3, p. 1.)
                              21                In May 2023, the California Statewide Certified Development Corporation repaid the the

                              22        repaid the Second Loan by making an SBA 504 loan. (Masood Deel., ,r 4.)
                              23                On October 27, 2023 ("Petition Date"), the Debtor filed a voluntary petition under
                              24        Chapter 11 of the Bankruptcy Code. (ECF No. 1.)
                              25                On November 3, 2023, this Court entered an order permitting the Debtor to use cash
                              26        collateral on an interim basis. (ECF No. 39.)
                              27

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                                1 II.       ARGUMENT

                                2           A.      Debtor Must Adequately Protect the Bank When Using Its Cash Collateral

                                3           Bankruptcy Code section 363 governs Debtor's use of cash collateral. It defines cash

                                4   collateral as "cash, negotiable instruments, documents oftitle, securities, deposit accounts, or

                                5   other cash equivalents whenever acquired in which the estate and an entity other than the estate

                                6   have an interest," including ''the proceeds, products, offspring, rents, or profits of property and
                                7   the fees, charges, accounts or other payments for the use or occupancy of rooms and other public

                                8 facilities in hotels, motels, or other lodging properties subject to a security interest rents as
                                9   provided in [11 U.S.C. §] 552(b)." 11 U.S.C. § 363(a). A debtor is prohibited from using a

                           10       creditor's cash collateral in the ordinary course of business absent authorization by the court or

                           11       consent from the entity with an interest in the collateral. 11 U.S.C. § 363(c)(2). Any authorized

                           12       use of cash collateral be conditioned upon a debtor's provision of adequate protection to the entity
                           13       with an interest in the collateral. 11 U.S.C. § 363(e).

                           14               Based on this standard, this Court may only authorize the Debtor to utilize cash collateral
                           15       without the Bank's consent only when the Bank's interest is adequately protected. As the court

                           16       noted in Security Leasing Partners, LP v. ProAlert, LLC (In re ProAlert, LLC), 314 B.R. 436,442

                           17       (B.A.P. 9th Cir. 2004), a "court shall condition the use of secured property 'as is necessary to

                           18       provide adequate protection of such interest'" and "'when a creditor opposes a proposed use of
                           19       cash collateral, the guiding inquiry is whether its security interests are 'adequately protected."'

                          20        The debtor bears the burden of proof on the issue of adequate protection under 11 U.S.C. §

                          21        363(p)(l). The "purpose of adequate protection is to protect lenders from diminution in the value

                          22        of their collateral." Qmect, Inc. v. Burlingame Capital Partners IL L.P., 373 B.R. 682, 690 (N.D.

                          23        Cal. 2007). Adequate protection may be provided by (1) making periodic cash payments or

                          24        equivalent to the decrease in the value of the creditor's interest; (2) an additional or replacement
                           25       lien on other property; or (3) other relief that provides the "indubitable equivalent" of the
                           26       creditor's interest in the property. 11 U.S.C. § 361; Mut. Life Ins. Co. v. Patrician St. Joseph

                           27       Partners, Ltd. P'ship (In re Patrician St. Joseph Partners Ltd. P'ship), 169 B.R. 669,677 (D.

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A PROFESSIONAL CORPORATIOr,,i           SUNWEST BANK'S OPPOSITION TO DEBTOR'S EMERGENCY MOTION FOR
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                                    ORDER AUTHORIZING USE OF CASH COLLATERAL: CASE NO. 8:23-BK-12243-SC
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                              1 Ariz. 1994). The Debtor has not provided adequate protection to the Bank.

                              2           B.      A Replacement Lien and Use of Funds to Maintain Operations Do Not
                              3                   Adequately Protect The Bank
                                          In the Motion, the Debtor acknowledges collecting $12,544.20 monthly rent from its
                              4
                                  tenant, Sagebrush, LLC. (Masood Deel., 15.) In a woeful attempt to comply with Section 363,
                              5
                                  the Debtor offers two methods to ostensibly protect the Bank's interest in this rent. It offers a
                              6
                                  replacement lien in its post-petition cash to the Bank to the same extent, validity, and priority as
                              7
                                  of the Petition Date. (Memo., p. 5:4-9.) It also claims that the Bank is protected because the use of
                              8
                                  the rent "will enable the Debtor to continue to operate its business." (Memo., p. 15:24-25.) These
                              9
                                  purported methods are inadequate and hollow.
                         10
                                          First, a replacement lien on rent generated post-petition does not protect the bank's
                         11
                                  interest in the Debtor's cash collateral (i.e., rent). A replacement lien on future rents, a property
                         12
                                  over which the Bank already has a security interest, cannot be considered adequate protection. (In
                         13
                                  re Rosario, No. 23-02291 MAGl 1, 2023 Bankr. LEXIS 2742, at *15 (Bankr. D.P.R. Nov. 9,
                         14
                                  2023) ("Debtor cannot give [secured creditor] a replacement lien in future rents because [the
                         15
                                  secured creditor's] security interest already extends to those rents"); In re Buttermilk Towne Ctr.,
                         16
                                  LLC, 442 B.R. 558, 566-567 (B.A.P. 6th Cir. 2010) (a replacement lien on post-petition rental
                         17
                                  income a replacement lien in future rents offers no adequate protection because the lender's lien
                         18
                                  already covers those rents; a lender is entitled to receive adequate protection for Debtor's use of
                         19
                                  the net rents generated post-petition). In In re Smithville Crossing, LLC, No. 11-02573-8-JRL,
                         20
                                  2011 Bankr. LEXIS 4605, at *29 (Bankr. E.D.N.C. Sep. 28, 2011), the court recognized that a
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                                  prepetition security interest in rents is a special kind of collateral that a mere replacement lien
                         22
                                  does not protect the interest the creditor has in accruing rents. The court concluded that "the
                         23
                                  proffer of a replacement lien on post-petition rents is illusory by virtue of [section] 552(b) of the
                         24
                                  Bankruptcy Code," which already grants a lien on post-petition rent. Id. at *31. Under Section
                         25
                                  552(b), if a creditor had a security interest in real property and its rents before the bankruptcy
                         26
                                  filing, the "security interest extends to such rents ... acquired by the estate after the
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                                  commencement of the case to the extent provided by such security agreement." 11 U.S.C. §
                         28
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                              1   552(b)(2).

                              2           Most courts consider a security interest in rent wholly separate from a creditor's security

                              3   interest in the real property, therefore requiring separate adequate protection for rent assigned to a

                              4   lender as collateral. (In re Chatham Parkway Self Storage, LLC, No. 12-42153, 2013 Bankr.

                              5 LEXIS 1955, at *12-13 (Bankr. S.D. Ga. Apr. 25, 2013). In In re Griswold Bldg., LLC, 420 B.R.
                              6   666, 699 (Banla. E.D. Mich. 2009), the court explained:
                              7                    A creditor that holds both a mortgage on real property and a
                                                   security interest in rents "has two distinct security interests[.]" ...
                              8                    "Where [ ] there is a specific assignment of rents given as security,
                                                   a diversion of any portion of the rents to a party other than the
                              9                    secured party is clearly a diminution of the secured party's interests
                                                   in the assignment ofrents portion of the security." . .. To protect
                         10                        against that diminution in value, a debtor must provide adequate
                                                   protection for the interest in rents above and beyond any adequate
                         11                        protection for the interest in the real property.... "Each of these
                                                   interests must be adequately protected." ...
                         12
                                  Other courts have affirmed that a security interest in the rents is separate from a security interest
                         13
                                  in the real property, and therefore, it is entitled to separate adequate protection for the use of the
                         14
                                  rents. 1 In re Putnal, 483 B.R. 799, 805 (Banla. M.D. Ga. 2012), the court held that "a security
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                                  interest in post-petition rents that is separate from its interest in the real property" and, as such,
                         16
                                  "any use of the rents results in a dollar-for-dollar reduction in the value of that collateral" that
                         17
                                  must be separately protected. In Rosario, 2023 Bankr. LEXIS 2742, at *14-*15, the court found
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                                  that the cash collateral from rent paid by tenants is separate and distinct from real estate collateral
                         19
                                  and, as such, a diversion of any portion of the rents to a party other than the secured party is
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                                  clearly a diminution of the secured party's interest in the assignment of rents portion of the
                         21
                                  security that must be protected "by cash payments from another source, an additional or
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                                  replacement lien, or other such indubitable equivalent."
                         23
                                          The fact that Defendant will use the Bank's cash collateral to pay operating expenses for
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                                  its laboratory business does not adequately protect the Bank. In In re Putnal, 483 B.R. at 804, rent
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                                  may only utilized without offering adequate protection when it is employed to protect the secured
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                                  1
                         27        See also In re: Stearns Bldg. , No. 98-1257, 1998 U.S . App. LEXIS 22121, at *12 (6th Cir. Sep. 3, 1998); In re
                                  Builders Group & Dev. Corp., 502 B.R. 95, 122 (Bankr. D.P.R. 2013); In re Union-Go Dairy Leasing, LLC, No. 10-
                         28       01703-AJM-1 l, 2010 Bankr. LEXIS 1468, at *11 (Bankr. S.D. Ind. May 6, 2010).
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                             1   lender's interest in the property. That is not the case here. Under the Deed of Trust and the

                         2       Assignment, the Bank's security interest lies with the Property and its rental income. Using the

                             3   funds to pay business expenses (such as employees and cost of goods) does not directly or

                         4       primarily benefit the Property or protect the Bank's interest in rent. Thus, the Debtor's use of the

                             5   Bank's rent to pay expenses offers no protection to the Bank.

                             6           C.        The Debtor Should Be Required to Make Periodic Cash Payments to the
                             7                     Bank
                                         The Debtor's use of the rent from the Property results in a dollar-for-dollar reduction in
                             8
                                 the value of that collateral. To mitigate against that loss, the Debtor must make periodic cash
                             9
                                 payments equal to the decrease in the value of the Bank' s interest in cash collateral. The Bank's
                        10
                                 cash collateral consists of $12,544.20 in monthly rent paid by Sagebrush LLC to the Debtor unde~
                        11
                                 a lease dated December 19, 2022. (Masood Deel., ,i 5.) Under the Note, the Debtor must pay
                        12
                                 $9,941.72 per month on the first day of each month. (Calkin Deel., Ex. 1.) At a minimum, the
                        13
                                 Debtor should be required to pay this amount, starting November 1, 2023, to protect its interest in
                        14
                                 the cash collateral and to prevent deterioration of its lien position in the Property during this
                        15
                                 bankruptcy proceeding. Payment of this amount is warranted. It compensates the Bank by
                        16
                                 providing a portion of its collateral.
                        17
                                          Moreover, it further protects the Bank from deterioration of its loan, which its cash
                        18
                                 collateral secures. During this bankruptcy proceeding, the First Loan will continue to accrue
                        19
                                 interest per Bankruptcy Code section 506. 2 Under the First Note, the Debtor agreed to make
                        20
                                 monthly payments of $9,941.72 to the Bank. (Calkin Deel., ,i,i 5, 6.) With interest rates over six
                        21
                                 percent, most of this payment would be applied to interest accruing on the First Loan. 3
                        22
                                          The Debtor and its bankruptcy estate benefit from the proposed periodic payments to the
                        23
                                 Bank. First, it avoids having interest continuing to accrue on the First Loan. Second, it allows the
                        24

                        25
                                 2 The Debtor admits that the Bank possesses a first priority Deed of Trust for at least $1 ,562,000 in debt secured by

                        26       the Property, which the Debtor estimates to be worth $3,075,000 encumbered by $2,811,960 in liens. (Memo., p. 6:6-
                                 7; ECF No. 65, pp. 13-14.)
                                 3
                        27         The First Note accrues variable non-default interest at the rate of five year treasury constant maturity rate (which
                                 currently totals 4.29%) plus two percentage points. (Calkin Deel., Ex. 1.) For example, if one assumes an interest rate
                        28       of6 .29% on an outstanding principal of$1,562,000, the interest per month would total $8,187.48.
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                              1 Debtor to retain $2,602.48 from the monthly rent collected ($12,544.20-$9,941.72) to operate its

                              2   business while protecting the Bank from the lost use of its cash collateral (i.e., rent) and

                              3   deterioration of its secured debt through the accrual of interest during this bankruptcy proceeding.

                              4   Third, the Debtor can make monthly payments to the Bank to avoid the deterioration of its

                              5   secured debt through the accrual of interest during this bankruptcy proceeding. As of November

                              6   4, 2023, Debtor has $367,948.69 in cash on hand and projects a $146,357.31 increase in cash
                              7   reserves to $514,306 by January 27, 2024, underscoring Debtor's wherewithal to fulfill its
                              8   financial obligations without undue hardship.

                              9   IV.     CONCLUSION

                         10               For the reasons set forth above, this Court should deny the Motion regarding the Debtor's
                         11       use of the Bank's cash collateral or grant the Motion requiring the Debtor to pay $9,941.72 per

                         12       month on the first of each month, starting November 1, 2023, in addition to an acknowledgment
                         13       of the Bank's replacement lien on future rents.

                         14       DATED: November 29, 2023                       BUCHALTER, A Professional Corporation
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                                                                                 By:    &J1at-R-
                                                                                        Attomeys for Secured Creditor,
                                                                                        Sunwest Bank
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